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 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         Case No. 1:16-cr-00009-DAD-BAM-5
12                      Plaintiff,
13          v.                                         SEALING ORDER
14   LORENA MARISCAL VELASQUEZ,
15                      Defendant.
16

17          The court having considered Dale A. Blickenstaff, attorney for Defendant, Lorena

18   Mariscal Velasquez, request to seal document (Doc. 130) and the psychological assessment of Dr.

19   Claudia Cerda of the defendant, the court finds compelling reasons for the filing of the document

20   under seal, therefore, the defendant’s request is granted. The Psychological Assessment of Dr.

21   Claudia Cerda of defendant shall be filed under seal until further order of the court.

22          It is further ordered that access to the sealed documents shall be limited to the government

23   and counsel for the defendant.

24   IT IS SO ORDERED.
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        Dated:     May 2, 2018
26                                                        UNITED STATES DISTRICT JUDGE

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